              IN THE DISTRICT COURT OF THE UNITED STATES
             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           ASHEVILLE DIVISION

                            CRIMINAL NO. 1:03CR76-5


UNITED STATES OF AMERICA                  )
                                          )
                                          )
              VS.                         )             ORDER
                                          )
                                          )
DEMETRIO JAIMES                           )
                                              )


       THIS MATTER is before the Court on Defendant’s motion to remit

bond, filed September 20, 2005.

       The Defendant was arrested on October 9, 2003, and released on a

secured bond 1 by the posting of $20,000 cash by Demetrio and Mario

Jaimes on October 10, 2003. The monies were deposited with the Clerk to

be held until completion of this case.

       Subsequently, on March 12, 2004, the Defendant entered a guilty

plea to Count 21 of the indictment and was sentenced by the undersigned

on September 1, 2005, to a term of imprisonment of one day with credit for


       1
       Although the Appearance Bond filed in this matter reflects a $100,000 bond
secured by a note and deed of trust, the Magistrate Judge later modified this requirement
and accepted the posting of the $20,000 cash bond.


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time served. The Defendant has completed the required term of

imprisonment and no further liability remains on the bond.

     IT IS, THEREFORE, ORDERED that the Defendant’s motion to remit

bond is ALLOWED, and the Clerk is directed to disburse the $20,000 now

being held in the Registry Account and that a check be made payable to

Demetrio Jaimes and Maria Jaimes, and mailed to the Defendant in care of

Ronald C. True, Attorney at Law, One Oak Plaza, Suite 106, Asheville,

North Carolina, 28801.




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                     Signed: October 5, 2005




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